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   Attorneys for Defendant, TARGET
 7 CORPORATION

 8                                   UNITED STATES DISTRICT COURT
 9              NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
10

11 BRYON JACKSON,                                          Case No. 3:21-cv-08458-LB

12                      Plaintiff,                         (State Court Case No. RG21110499)

13             v.
                                                           DEFENDANT TARGET
14 TARGET CORPORATION,                                     CORPORATION'S NOTICE OF
                                                           SERVICE OF DOCUMENTS
15                      Defendant.

16

17            TO THE HONORABLE COURT, ALL PARTIES AND THEIR ATTORNEYS OF

18 RECORD:
19            PLEASE TAKE NOTICE that TARGET CORPORATION has served the following

20 documents on Plaintiff, BRYON JACKSON:

21            1)        Standing Order for Magistrate Judge Laurel Beeler;

22            2)        Contents of Joint Case Management Statement;

23            3)        Consent or Declination to Magistrate Judge Jurisdiction;

24            4)        Order Setting Initial Case Management Conference and ADR Deadlines;

25            5)        Notice Regarding Resources;

26            6)        Legal Help Center; and

27 ///

28 ///

     4892-7880-9091.1                                                  Case No. 3:21-cv-08458-LB
                    DEFENDANT TARGET CORPORATION'S NOTICE OF SERVICE OF DOCUMENTS
            Case 3:21-cv-08458-LB Document 5 Filed 11/12/21 Page 2 of 4




 1            7)        Handbook for Pro Se Litigants.

 2

 3
     DATED: November 11, 2021                     MANNING & KASS
 4                                                ELLROD, RAMIREZ, TRESTER LLP
 5

 6
                                                  By:
 7                                                       David V. Roth
                                                         Chandra A. Carr
 8                                                       Attorneys for Defendant, TARGET
                                                         CORPORATION
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     4892-7880-9091.1                         2                     Case No. 3:21-cv-08458-LB
                 DEFENDANT TARGET CORPORATION'S NOTICE OF SERVICE OF DOCUMENTS
            Case 3:21-cv-08458-LB Document 5 Filed 11/12/21 Page 3 of 4




 1                                       PROOF OF SERVICE
 2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

 3        At the time of service, I was over 18 years of age and not a party to this action. I am
   employed in the County of Los Angeles, State of California. My business address is 801 S.
 4 Figueroa St, 15th Floor, Los Angeles, CA 90017-3012.

 5         On November 12, 2021, I served true copies of the following document(s) described as
   DEFENDANT TARGET CORPORATION'S NOTICE OF SERVICE OF DOCUMENTS on
 6 the interested parties in this action as follows:

 7                                 SEE ATTACHED SERVICE LIST
 8        BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of the
   document(s) to be sent from e-mail address ccm@manningllp.com to the persons at the e-mail
 9 addresses listed in the Service List. I did not receive, within a reasonable time after the
   transmission, any electronic message or other indication that the transmission was unsuccessful.
10
          I declare under penalty of perjury under the laws of the United States of America that the
11 foregoing is true and correct and that I am employed in the office of a member of the bar of this
   Court at whose direction the service was made.
12
          Executed on November 12, 2021, at Los Angeles, California.
13

14
                                                              /s/ Christine Mills
15                                                    Christine Mills
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     4892-7880-9091.1                         1                     Case No. 3:21-cv-08458-LB
                 DEFENDANT TARGET CORPORATION'S NOTICE OF SERVICE OF DOCUMENTS
            Case 3:21-cv-08458-LB Document 5 Filed 11/12/21 Page 4 of 4




 1                                         SERVICE LIST
                              Jackson v. Target – USDC-Northern District
 2                                    Case No. 3:21-cv-08458-LB
 3 Bryon Jackson                                   Plaintiff, In Pro Per
   1350 Marina Village Parkway
 4 Alameda, CA 94501
   Tel: (201) 776-4282
 5 Email: zaqw1478@hotmail.com

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     4892-7880-9091.1                         2                     Case No. 3:21-cv-08458-LB
                 DEFENDANT TARGET CORPORATION'S NOTICE OF SERVICE OF DOCUMENTS
